         Case 3:18-cv-04571-JD Document 164 Filed 12/19/19 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                                        Civil Minutes


 Date: December 19, 2019                                         Judge: Hon. James Donato

 Time: 32 Minutes

 Case No.       C-18-04571-JD
 Case Name      Carnegie Mellon University v. LSI Corporation et al

 Attorney(s) for Plaintiff(s):   Patrick J. McElhinny/Anna Shabalov
 Attorney(s) for Defendant(s):   Steven J. Rizzi/Ramy Hanna

 Deputy Clerk: Lisa R. Clark                                   Court Reporter: Marla Knox

                                      PROCEEDINGS

Motion for Partial Summary Judgment -- Held

                                   NOTES AND ORDERS

Defendants’ motion for partial summary judgment is under submission. Dkt. No. 146.
